      CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Jesse Ventura, a/k/a James G. Janos, an                           Civil No. 12-cv-0472 RHK/JJK
individual,

                              Plaintiff,
                                                        DEFENDANT’S BENCH BRIEF IN
vs.                                                     RESPONSE TO VENTURA’S BRIEF
                                                        REGARDING THE ADMISSIBILITY
Taya Kyle, as Executor of the Estate of                 OF EVIDENCE OF THE ESTATE’S
Chris Kyle,                                             LIABILITY INSURANCE

                            Defendant.


                                             Introduction

          Ventura argues that Taya Kyle’s testimony about claims that are not covered by

insurance have opened the door to the introduction of the publisher’s insurance policy. This

argument is implausible on its face, and the Court should reject it. Specifically, Court Anderson

argued:

           Ms. Kyle has testified that she’s had to pay the expenses associated with this
          litigation. She’s testified that if she gives the money away to charity, that she
          wouldn’t be able to pay a judgment; and that if she gave the money away, she
          may not be able to feed her children as a result of this litigation.

(07/09/07 Tr. at 174:18-23.) David Olsen then stated “when I have an opportunity to do recross

on Ms. Kyle I plan to ask her about whether there is an insurance policy that, in fact, covers the

legal expenses and will pay a judgment, because that is the case.” (Id. at 175:21-24.)

          John Borger responded by explaining that the insurance policy covers only the

defamation claim—not the claims to recover book and movie royalties—and explained:

          One of the reasons for that is that this lawsuit and the claim against the Kyle
          estate for the royalties received from American Sniper, the book, are putting a
          cloud over what she can do with those royalties. If she gives them all away, then

                                                    1
      CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 2 of 7



        those funds would not be available to satisfy a judgment for misappropriation or
        unjust enrichment. Those claims are not covered by the insurance policy and
        the other assets would be put at risk. The insurance policy has no relevance
        to this.

(Id. at 177:2-178:16 (emphasis added).) At the Court’s request, this brief provides further

support for Borger’s argument.

        As the Court knows, there are three claims at issue in this case—defamation,

misappropriation, and unjust enrichment. Plaintiff ignores this fact and never once mentions the

misappropriation or unjust enrichment claims in his bench brief dated April _, 2014. And in

Court, John Borger carefully avoided mention of the defamation claim when asking Taya Kyle

the questions that Anderson now claims opened the door to insurance.

        Contrary to Olsen’s assertion that it “is the case,” Plaintiff well knows that the insurance

policy pertains only to the defamation claim. It does not cover damages related to the

misappropriation and unjust enrichment claims. Thus, any reference to what the lawsuit has

caused Taya Kyle to do with the “proceeds from AMERICAN SNIPER” (07/09/07 Tr. at 158:10) did

not open any door through Federal Rule of Evidence 411 and cannot be considered “poor

mouthing” because it is in fact true that, if there is a verdict in Plaintiff’s favor on the

misappropriation or unjust enrichment claims, the Estate itself will have to pay the award,

without help from the insurance. Therefore, Ventura should not be allowed to refer to the

insurance policy and open the can of worms that would go along with it.

                                             Background

        Taya Kyle testified that she and Chris Kyle set up CT Legacy for the purpose of keeping

tracking of income “from anything [Chris] did as far as speaking or anything like that” such as

income from books, movies, and speaking engagements. (07/09/14 Tr. at 119:16-24.)




                                                   2
     CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 3 of 7



       After Olsen implied in his questioning of Taya Kyle that she had not donated the book

proceeds as promised, Borger clarified that one of the reasons that she had not donated more

money was as a result of this lawsuit:

       Q. And has this lawsuit had any impact upon what you have
       done with the proceeds from American Sniper, the book?

       A. Yeah, it has. I mean, some of it I actually had to use
       to pay for -- for personnel support like body guard type the
       first time I came in, and airline flight and hotel. And
       then any expenses that I've incurred for flights and then
       care for my children while I'm gone, stuff like that. 1
       And am I answering it? I'm sorry. I'm s brain
       dead right now. Tell me –

       Q. Do you understand that the Plaintiff in this lawsuit is
       trying to recover all of the proceeds from the book?

       A. Oh, sorry. Yes. And so, yes, so I have been trying to
       absolutely keep that separate from anything else that I've
       done, and I am trying not to spend it so that I'll have more
       to give. And I don't know. I don't know. I'm an idiot. I
       don't know what I'm saying.
         ...
       Q. If the Plaintiff in this lawsuit recovers book proceeds
       from you as a result of this lawsuit and you have already
       given that money away –

       A. I see what you're saying, sorry.

       Q. Would you be able to pay the Plaintiff?

       A. I see what you're saying. Yeah, I mean, I need to hold
       onto it to -- so that if I had to pay something, that I can
       still have, you know, money to live on or raise my kids
       with. So I'm trying to be conservative with it. 2




1
 When Taya Kyle attended the July 15, 2013, settlement conference in Minneapolis, she was
accompanied by a bodyguard. The bodyguard donated his services; Taya Kyle paid his travel
expenses. She also incurred child-care expenses during her litigation-related absences. Insurance
did not cover any of these expenses. (See Dkt No. 184 at 4-5.)
                                                 3
     CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 4 of 7



(07/09/14 Tr. at 158:9-159:14.)

                                         Legal Standard

       The parties agree that Fed. R. Evid. 411 governs the admissibility of evidence of liability

insurance. The rule states:

       Evidence that a person was or was not insured against liability is not admissible to prove
       whether the person acted negligently or otherwise wrongfully. But the court may admit
       this evidence for another purpose, such as proving a witness’s bias or prejudice or
       proving agency, ownership, or control.

Fed. R. Evid. 411. Under Fed. R. Evid. 411, evidence that a person was or was not insured is

generally not admissible. This is because “knowledge of the presence or absence of liability

insurance would induce juries to decide cases on improper grounds.” Fed. R. Evid. 411,

Advisory Committee Notes, 1972 Proposed Rules.

       In addition, “[t]he general rule in the state courts and under Fed. R. Civ. P. 61 is that

interjection of the fact that the defendant is protected by insurance or other indemnity may be

prejudicial error requiring reversal.” Griffin v. Hilke, 804 F.2d 1052, 1057 (8th Cir. 1986); see

also Eichel v. New York Cent. R. Co., 375 U.S. 253 (1963) (“It has long been recognized that

evidence showing that the defendant is insured created a substantial likelihood of misuse.”).

“The reasoning behind this rule with regard to testimony or argument concerning the defendant’s

insurance or indemnity protection is that it will result in an unduly generous award of damages

by the jury.” Griffin, 804 F.2d at 1057; see also Halladay v. Verschoor, 381 F.2d 100, 112 (8th

Cir. 1967) (finding that “parties are entitled to have the issues determined on their merits” and

that “the injection of insurance or indemnity feature leading to the conclusion that the damages




2
 The applicable insurance policy does not cover the claims for misappropriation or unjust
enrichment in which Plaintiff seeks to recover proceeds from the Book. (See Dkt No. 205 at 5-7;
Dkt No. 184 at 4-5.)
                                                 4
      CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 5 of 7



sued for have been or will be taken care of by an insurance or indemnity company is utterly

repugnant to a fair trial or to the securing of the rendition of a just verdict.”).

                                              Argument

        I.      Only the Misappropriation and Unjust Enrichment Claims Measure
                Damages by the Extent of Royalties Earned by AMERICAN SNIPER.

        The Court stated in its Order dated December 20, 2012, “recovery under [defamation and

unjust enrichment] is distinct—defamation related to Ventura’s damage while unjust enrichment

relates to Kyle’s benefit.” (Dkt No. 125 at 8 (citing Zirinsky v. Sheehan, 413 F.2d 481, 489 (8th

Cir. (1969) (“The theory of unjust enrichment is based on what the person allegedly enriched has

received, not on what the opposing party has lost.’”)).) Similarly, any recovery for

misappropriation would relate to Kyle’s benefit because misappropriation occurs when “the

defendant makes use of the plaintiff’s name or likeness for his own purposes and benefit.” (Dkt.

No. 125 at 6) (citing Restatement (Second) of Torts § 652C cmt. b).)

        Borger’s questions to Taya Kyle addressed only the proceeds from the AMERICAN SNIPER

book. Those proceeds would not be recoverable under a defamation theory, and therefore are not

protected by insurance. Only Ventura’s misappropriation or unjust enrichment claims could

reach those proceeds.

        In the unlikely event that Plaintiff prevails on either his unjust enrichment or

misappropriation claim, Defendant would have to satisfy a judgment from the book proceeds that

are part of the Estate assets without the assistance of insurance. Putting aside any tax-related

reasons, if Taya Kyle at this stage were to donate all of the AMERICAN SNIPER proceeds, this

would put the Estate’s other assets at risk which are needed to support Taya Kyle’s family.

Consequently, Taya Kyle cautiously is holding most of the book proceeds in reserve until trial is

over. Borger’s questioning and Taya’s Kyle answers related only to that particular purpose and

                                                    5
      CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 6 of 7



were unrelated to insurance or the defamation claim, which is directed at awarding damages

based on harm to Plaintiff’s reputation. This testimony was not “poor mouthing” but rather an

attempt to explain why more of the book proceeds have not yet been donated – an explanation

prompted by Olson’s questioning about the level of book proceeds donations to date. (07/09/14

Tr. at 134-39.) Taya Kyle made a similar point in her September 11, 2013, deposition testimony.

(T. Kyle Tr. 245:11-13) (“I have been advised to wait and see how much of any money

potentially will be taken from us with this lawsuit. And I have been cautioned to be very careful

about giving out extraordinary amounts to make sure that I am not high and dry with the kids at

some point.”).)

       II.     The Insurance Policy Relates Only to the Defamation Claim

       The publisher’s insurance policy covers the defamation claim only. (See Dkt No. 205 at

5-7; Dkt No. 184 at 4-5.) Borger did not ask questions related to the defamation claim—the only

claim subject to which the publisher’s insurance policy pertains. If there is a verdict in Plaintiff’s

favor on the misappropriation or unjust enrichment claims, the Estate itself will have to pay the

award, without help from the insurance. No curative admissibility is needed because insurance

will not assist the Estate in paying any judgment related to these two claims.

       Moreover, at the last settlement conference, Plaintiff demanded a sum millions of dollars

greater than the applicable insurance limit. If Plaintiff insists in focusing on the insurance issue,

Defendant will seek to mitigate that testimony by discussing Plaintiff’s settlement demands.




                                                  6
    CASE 0:12-cv-00472-MJD-FLN Document 397 Filed 08/18/14 Page 7 of 7



Dated: July 9, 2014                     FAEGRE BAKER DANIELS LLP



                                        By: /s/ John P. Borger
                                            John P. Borger, #9878
                                            Charles F. Webber #215247
                                            Leita Walker, #387095
                                            2200 Wells Fargo Center
                                            90 South Seventh Street
                                            Minneapolis, MN 55402
                                            Telephone: (612) 766-7000
                                            Fax: (612) 766-1600
                                            john.borger@FaegreBD.com
                                            leita.walker@FaegreBD.com

                                            Attorneys for Defendant Taya Kyle,
                                            Executor of the Estate of Chris Kyle
                                            (deceased)




                                    7
